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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------ X
In re:                                           :
                                                 :
        LOAAI AL-AKWAA,                          :     Chapter 7
                                                 :     Case No.: 17-10892 (SMB)
                                                 :
                                Debtor.          :
------------------------------------------------X
SAMA’A AL-HAMDANI,                               :
                                                 :
                                Plaintiff,       :
                                                 :
                  ‒ against ‒                    :      Adv. Proc. No. : 17-01092 (SMB)
                                                 :
LOAAI AL-AKWAA,                                  :
                                                 :
                                Defendant. :
------------------------------------------------X

                                      FINAL JUDGMENT

        The plaintiff having commenced this adversary proceeding on June 27, 2017,
seeking a declaration that a judgment entered against the defendant, her former spouse,
by the Superior Court of the District of Columbia, Family Court, Domestic Relations
Branch on April 11, 2017 in the amount of $30,000.00 (the “Judgment”) was not
dischargeable; and the Clerk of the Court having issued a summons on July, 7, 2017,
scheduling a pre-trial conference in this adversary proceeding for September 12, 2017, at
10:00 a.m.; and the defendant having filed an answer on August 15, 2017; and the
plaintiff having appeared at the scheduled pre-trial conference but the defendant having
failed to appear; it is hereby

       ORDERED, ADJUDGED AND DECREED pursuant to Rule 9020-1(a) of the
Local Bankruptcy Rules of this Court that the Judgment is not dischargeable.

Dated: New York, New York
       September 12, 2017

                                                       /s/ Stuart M. Bernstein
                                                       STUART M. BERNSTEIN
                                                     United States Bankruptcy Judge
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TO:

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